
Gentlecare Ambulatory Anesthesia Services; Lyonel F. Paul, M.D., as Assignee of Brown, Sharief G., Appellant,
againstGEICO Ins. Co., Respondent.




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
Rivkin Radler, LLP (Cheryl F. Korman, Henry Mascia and Stuart M. Bodoff of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Terrence C. O'Connor, J.), entered October 22, 2015. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment, and defendant cross-moved for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath. Plaintiff appeals from an order of the Civil Court which denied plaintiff's motion and granted defendant's cross motion.
For the reasons stated in Gentlecare Ambulatory Anesthesia Servs. etc., as Assignee of Saint-Louis, Lydia v GEICO Ins. Co. (__ Misc 3d ___, 2018 NY Slip Op _____ [appeal No. 2015-1996 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: June 08, 2018










